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 Fill in this information to identify the case:

               InfoW, LLC
 Debtor name __________________________________________________________________


                                          Southern
 United States Bankruptcy Court for the:______________________ District of      Texas
                                                                               _______
                                                                              (State)
 Case number (If known):      22-60020
                            _________________________                         11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or         License Agreement
                                          ____________________________________               Free Speech Systems, LLC
                                                                                           _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________                c/o Ray Battaglia, 66 Granburg Cir, San Antonio, TX
                                                                                           _________________________________________________________
                                                                                               78218
                                                                                           _________________________________________________________
         State the term remaining           Ongoing
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or         Plan Support Agreement
                                          ____________________________________              Free Speech Systems, LLC, c/o Ray Battaglia, 66
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________               Granburg Cir, San Antonio, TX 78218
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining            Ongoing
                                          ____________________________________
                                                                                             Alexander Jones, c/o Shelby Jordan, 500 North
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________               Shoreline Blvd, STE 900, Corpus Christi, TX 78401
                                                                                           _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
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